 Case 4:22-cv-00244-ALM Document 1-4 Filed 03/28/22 Page 1 of 2 PageID #: 177




                                           CAUSE NO. DC-l7-07929

JEFFREY GRAY, DAWN GRAY,                                                     IN THE DISTRICT COURT OF




                                                 §§§§§§§§§§§§§§§
AND BRAVE OPTICAL, INC.

         Plaintiffs,

V.
                                                                                101“ JUDICIAL DISTRICI
GUTMAN VISION, INC.,
ALEX GUTMAN, MILANA GUTMAN,
LUXOTIICA 0F AMERICA INC.,
f/k/a LUXOTTICA RETAIL NORTH
AMERICA INC., AND
EYEMED VISION CARE LLC.

         Defendants.                                                           DALLAS COUNTY, TEXAS

                                  ORDER 0N SUMMARY JUDGMENT

         On March 7, 2022, the Court heard argument on Luxottica of America Inc.’s and EyeMed Vision

Care,   LLC’s First Amended Motion for Summary Judgment (the “Motion”). Aﬁer considering the Motion,

all responsive brieﬁng, the evidence, relevant law, and the arguments of counsel, the Court ﬁnds that the

Motion should be granted entirely.

         IT IS THEREFORE ORDERED                that Luxottica           of America Inc. f/k/a Luxottica Retail North

America Inc. and EyeMed Vision Care,                 LLC’s          No Evidence Motion for Summary Judgment is

GRANTED in its entirety.

         IT IS FURTHER ORDERED                that Luxottica           of America Inc. f/k/a Luxottica Retail North

America Inc. and EyeMed Vision Care,         LLC’s Traditional Motion for Summary Judgnent is GRANTED

in its entirety.

         IT IS FURTHER ORDERED               that all claims Plaintiffs Jeﬁ‘rey Gray, Dawn Gray, and Brave


Optical, Inc. (“Plaintiﬁ‘s”) asserted, or could have asserted, in the above-captioned and numbered lawsuit

against Luxottica      of America Inc.   are dismissed             WITH PREJUDICE    and that the Plaintiﬁ‘s shall take


nothing in their claims against Luxottica of America Inc.

ORDER ON SUMMARY JUDGMENT                                                                        Page   l of 2
 Case 4:22-cv-00244-ALM Document 1-4 Filed 03/28/22 Page 2 of 2 PageID #: 178




       IT IS FURTHER ORDERED              that all claims Plaintiffs asserted, or could have asserted, in the

above-captioned and numbered lawsuit against EyeMed Vision Care,                LLC   are dismissed   WITH

PREJUDICE and that Plaintiffs shall take nothing in their claims against Eyemed Vision Care, LLC.

       IT IS FURTHER ORDERED               that this summary judgment disposes     of all claims brought by

Plaintiﬁ‘s against Luxottica of America Inc. and EyeMed Vision Care,     LLC.

       IT IS FURTHER ORDERED that Plaintiffs Brave Optical,             lnc., Jeffrey Gray, and Dawn Gray

are indebted to Luxottica     of America, Inc. in the amount of $351,048.15, plus pre and post-judgment

interest as allowed by law.

                                             /
       SIGNEDong       ZHQJ             £2       ,2022.




                                                          O ORABLE S                         S




ORDER 0N SUMMARY JUDGMENT                                                              Page 2 of 2
